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                       4
                           Attorneys for Defendant
                       5   COUNTY OF SAN DIEGO (also erroneously sued
                           as SAN DIEGO COUNTY SHERIFF’S
                       6   DEPARTMENT, and SAN DIEGO COUNTY
                           PROBATION DEPARTMENT)
                       7
                       8
                       9                                 UNITED STATES DISTRICT COURT
                      10                               SOUTHERN DISTRICT OF CALIFORNIA
                      11
                           DARRYL DUNSMORE, et.al.,                   Case No. 3:20-cv-00406-AJB-WVG
                      12
                                                   Plaintiffs,        DEFENDANT COUNTY OF SAN
                      13                                              DIEGO’S OPPOSITION TO
                           v.                                         PLAINTIFFS’ MOTION FOR
                      14                                              EXPEDITED DISCOVERY
                           SAN DIEGO COUNTY SHERIFF’S
                      15   DEPARTMENT, et.al.,                        No Hearing Date [Dkt. 211]
                      16                           Defendants.        Magistrate: Hon. David D. Leshner
                      17
                      18            Defendant County of San Diego (also erroneously sued as San Diego County
                      19   Sheriff’s Department, and San Diego County Probation Department) submits its
                      20   opposition to Plaintiffs’ motion for expedited discovery.
                      21   ///
                      22   ///
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B URKE , W ILLIAMS &
   S ORENS EN , LLP        SD #4892-0902-3539 v1                     -1-                    3:20-CV-00406-AJB-WVG
  ATTO RNEY S AT LAW                                                          OPPO. TO MTN FOR EARLY DISCOVERY
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                       1   I.       INTRODUCTION
                       2            This is a putative class action lawsuit involving Plaintiffs’ unwieldy 253-
                       3   page Second Amended Complaint, which seeks wide-ranging injunctive relief
                       4   based on a laundry list of alleged deficiencies occurring at the San Diego County
                       5   jails. The Rule 26 conference has not yet been scheduled nor has the early meeting
                       6   of counsel occurred. Yet plaintiffs seek expedited on six broad topics and 19 sub-
                       7   topics. But they fail to make a showing of good cause to justify an exception to the
                       8   general rule. This is not a situation where plaintiffs seek to learn the name of a key
                       9   defendant or obtain specific documents. Nor is the discovery sought targeted, as
                      10   plaintiffs claim. Instead, plaintiffs’ stated objective is to acquire more information
                      11   such that they may revisit their entire Motion for Preliminary Injunction. This
                      12   motion should be denied given the breadth of the discovery sought and the burden it
                      13   would impose. Further, the pleadings are not at issue as a ruling on Defendants’
                      14   Motion to Dismiss is still pending, which seeks in part to narrow Plaintiffs’
                      15   allegations1. Ignoring their standing issues and the problems with their operative
                      16   pleading, Plaintiffs plow ahead and seek to issue overbroad and vague discovery on
                      17   an expedited basis without showing good cause.
                      18            Plaintiffs also want this Court to order that nothing limits their ability to
                      19   propound broader requests in the course of discovery – meaning that they can ask
                      20   for additional inspections of the same facilities with the same experts and conduct
                      21   depositions involving the same witnesses, even after the parties have undertaken
                      22   efforts for this “expedited” discovery.
                      23            Plaintiffs lack good cause for their expedited discovery requests. Their
                      24   discovery is overbroad, far from narrowly-tailored, unduly burdensome and fails
                      25
                           1
                            There are fundamental issues with Plaintiffs’ Second Amended Complaint and
                      26   hopes for class certification, as demonstrated by the court’s order denying
                           Plaintiffs’ motion for preliminary injunction, finding that Plaintiffs lack standing on
                      27   many of their claims. (Dkt. 203.) For example, they failed to identify a single
                           named plaintiff who suffered an injury-in-fact from Defendants’ conduct or to plead
                      28   an injury altogether.
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                       1   proportionality standards. Plaintiffs should first cure their standing problem and
                       2   put the case at issue before being able to proceed with discovery in this litigation.
                       3   II.      LEGAL STANDARD
                       4            A party may not seek discovery from any source before the Rule 26(f)
                       5   conference unless that party first obtains a stipulation or court order permitting
                       6   early discovery. Fed. R. Civ. P. 26(d)(1). The “good cause” standard applies in
                       7   deciding whether to permit early discovery. Semitool, Inc. v. Tokyo Electron
                       8   America, Inc., 208 F.R.D. 273, 274 (N.D. Cal. 2002). Good cause exists “where the
                       9   need for expedited discovery, in consideration of the administration of justice,
                      10   outweighs the prejudice to the responding party.” Id. at 276. Courts commonly
                      11   consider the following factors in determining whether good cause justifies
                      12   expedited discovery: “(1) whether a preliminary injunction is pending; (2) the
                      13   breadth of the discovery requests; (3) the purpose for requesting the expedited
                      14   discovery; (4) the burden on the defendants to comply with the requests; and (5)
                      15   how far in advance of the typical discovery process the request was made.” Apple
                      16   Inc. v. Samsung Elec. Co., Ltd., 2011 WL 1938154, at *1 (N.D. Cal. May 18, 2011)
                      17   (citation omitted). Courts must examine “the reasonableness of the request in light
                      18   of all the surrounding circumstances.” See Am. LegalNet, Inc., 673 F. Supp. 2d at
                      19   1067. A court may deny a motion for expedited discovery where the discovery
                      20   sought is not “narrowly tailored to obtain information relevant to a preliminary
                      21   injunction determination and instead goes to the merits of plaintiff's claims in this
                      22   action.” Id. at 1069 (internal quotes omitted); Dimension Data N. Am. v. NetStar–1,
                      23   Inc., 226 F.R.D. 528, 532 (E.D.N.C. 2005).
                      24   III.     PLAINTIFFS FAIL TO MAKE THE APPROPRIATE SHOWING AS
                                    REQUIRED BY THE COURT
                      25
                      26            The Court, in its September 1, 2022 minute order, ordered that “The parties’
                      27   briefing should address the relevance and proper scope of any expedited discovery,
                      28   whether any such discovery is available by other means, and the parties' positions
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                       1   on advancing the date of the Rule 26(f) conference. The parties shall provide the
                       2   Court with specifics regarding the logistics and timing of any proposed discovery.”
                       3   [Doc. 211 (emphasis added)]. Plaintiffs fail to meet these standards. Their brief
                       4   paints broad strokes and speaks in generalities. There is no specificity as to any
                       5   discovery item requested, as discussed below.
                       6            For relevance, Plaintiffs broadly maintain that: “Plaintiffs seek evidence that
                       7   is directly relevant to the issues raised in their preliminary injunction motion.
                       8   County Defendants’ counsel agreed on the record that discovery would shed light
                       9   on the issues raised in that motion.” (Mot’n at 8.) Plaintiffs do not articulate the
                      10   claimed relevance as it applies to any specific request. There is no discussion tying
                      11   the need for an inspection as to the allegations in the operative complaint or any
                      12   explanation that the issues need to undergo a physical inspection. The motion is
                      13   devoid of any detail even identifying what is being inspected, the manner it is being
                      14   inspected, and why it is being inspected. For example, is Mr. Austin intending to
                      15   inspect all intercoms, emergency button systems, surveillance equipment, and
                      16   elevators to make sure they are working? If the purpose of the inspection is to
                      17   discover what systems are in place, there are less intrusive, burdensome, and
                      18   disruptive means of seeking this information. It appears that purpose of the
                      19   inspections is to interview staff and incarcerated individuals rather than obtaining
                      20   information about the jail’s procedures and systems, which can be obtained through
                      21   means other than an inspection. The statements in these interviews would
                      22   constitute hearsay2. The County cannot gauge and counter the specific inspection
                      23   activity without Plaintiffs identifying what exactly is to be inspected and in what
                      24   manner and the questions to be broached. The lack of this important information
                      25   warrants an outright denial of Plaintiffs’ inspection requests.
                      26
                           2
                            While experts may rely on hearsay, solicited or “softball” questions to prisoners/
                      27   potential clients may not yield accurate information. Plaintiffs’ counsel expressed a
                           desire to have incarcerated persons interviewed without the presence of defense
                      28   counsel and declined to audio-tape or otherwise record the interviews.
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                       1            Plaintiffs do not even attempt to discuss the actual discovery document
                       2   requests they seek to issue (they are briefly referenced in the proposed order
                       3   attached to their declaration) or explain why they need these overbroad requests
                       4   that have no limit in scope or time. Nor do Plaintiffs explain the relevance of the
                       5   30(b)(6) depositions, other than stating they are relevant in general terms.
                       6            Plaintiffs do not provide any specificity (which the Court required) to support
                       7   their position that the discovery is not obtainable by other means. They simply
                       8   maintain that the discovery is not available by any other means because it is in the
                       9   County’s possession – no other explanation provided is as to why other options for
                      10   obtaining the information will not suffice. Plaintiffs also fail to discuss logistics.
                      11   Thus, plaintiffs fail to meet their burden to show good cause for their requested
                      12   discovery based on what the Court requested that they articulate.
                      13   IV.      PLAINTIFFS LACK GOOD CAUSE FOR EXPEDITED DISCOVERY
                      14            Plaintiffs cannot demonstrate good cause for seeking expedited discovery in
                      15   the form of burdensome and non-specified inspection requests (14 inspections),
                      16   broad document requests, and premature 30(b)(6) depositions. Plaintiffs seek
                      17   expedited discovery related to six issues: (1) drug overdoses and overdose deaths;
                      18   (2) the adequacy and timeliness of safety checks; (3) audio intercom and video
                      19   surveillance systems, and related staff responses to emergencies; (4) the
                      20   consideration given to mental health staff’s clinically-based recommendations for
                      21   incarcerated people with mental health needs; (5) the provision of mental health
                      22   care in confidential settings; and (6) the provision of safe and accessible housing
                      23   and programming to incarcerated people with mobility disabilities. Plaintiffs
                      24   acknowledge these topics have 19 sub-issues, making the topics even broader.
                      25            It is not the County’s position that no discovery is warranted in this case.
                      26   Rather, the issue is one of timing, relevance, and overbreadth. Plaintiffs essentially
                      27   seek bifurcation of discovery issues. They want early inspections, depositions, and
                      28   documents on these six issues – which they claim are matters of pressing concern –
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                       1   yet they intend to issue future discovery for additional inspections of the jails,
                       2   depositions, and document requests on the other multitude of issues in their Second
                       3   Amended Complaint, requiring significant work and overlap. Plaintiffs fail to show
                       4   good cause for their proposed staging of discovery.3
                       5            Plaintiffs fail to show good cause to advance their request for early discovery
                       6   as explained below. First, plaintiffs’ counsel have already been obtaining
                       7   information and documents from the Sheriff’s Department for more than a year via
                       8   Public Records Act requests. (See e.g. Ex. PP to Plaintiffs’ Motion [Doc. 119-3].)
                       9   Additionally, the policies of the Sheriff’s Department for operation of the county
                      10   jails are publicly available online. (See e.g. Ex. SS to FFF of Plaintiffs’ Motion
                      11   [Doc. 119-3].) Plaintiffs’ counsel have also collected reports, audits, and statistics
                      12   from agencies such as the State Auditor, CLERB, COCHS, Disability Rights
                      13   California, NCCHC, the county’s Grand Jury, SANDAG, and articles from
                      14   newspapers. (See e.g. Ex. B-RR of Plaintiffs’ Motion [Doc. 119-3].)
                      15            Second, plaintiffs’ counsel have talked to scores of current and former
                      16   incarcerated persons, as evidenced by the numerous declarations attached to their
                      17   Motion for Preliminary Injunction and Provisional Class Certification [Doc. #119].
                      18   They have also talked to and obtained declarations and information from former
                      19   health care staff persons, including Christine Evans and Jennifer Alonso. (See id.)
                      20   Their Motion for Preliminary Injunction represented well over a year of work in
                      21   collecting evidence; accordingly, there is no reason to believe that their collection
                      22   of additional evidence to revisit the entire motion will be a short or simple process.
                      23            A.       No Preliminary Injunction is Pending
                      24
                      25            3
                                   Plaintiffs maintain that these six issues are pertinent for rapid discovery due
                           to the number of deaths in the jail, but they are speculating as to cause and ignore
                      26   the natural deaths. Further, while drugs and suicide may affect the death rate, all of
                           . The County, in its opposition to the preliminary injunction motion, described in
                      27   depth the problems with Plaintiffs’ claimed evidence – including their statistics on
                           the death rate failing to take into account the turnover in the population.
                      28
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                       1            Expedited discovery is appropriate in cases “such as those involving requests
                       2   for a preliminary injunction.” Fed. R. Civ. P. 26(d), Advisory Committee’s Note to
                       3   1993 Amendment. But plaintiffs did not seek discovery during the pendency of
                       4   their Motion for Preliminary Injunction, a period when courts often permit
                       5   expedited discovery designed to obtain information required for the preliminary
                       6   injunction. Palermo, 2012 WL 2106228, at *2. However, courts do not grant
                       7   expedited discovery merely because a party seeks a preliminary injunction; they
                       8   must examine “the reasonableness of the request in light of all the surrounding
                       9   circumstances.” See Am. LegalNet, Inc., 673 F. Supp. 2d at 1067. Further, a court
                      10   may deny a motion for expedited discovery where a moving party seeks discovery
                      11   that is not “narrowly tailored to obtain information relevant to a preliminary
                      12   injunction determination and instead goes to the merits of plaintiff’s claims in this
                      13   action.” Id. at 1069 (internal quotation marks omitted); Dimension Data N. Am. v.
                      14   NetStar–1, Inc., 226 F.R.D. 528, 532 (E.D.N.C. 2005) (denying request for
                      15   expedited discovery in part because “the discovery requested is not narrowly
                      16   tailored to obtain information relevant to a preliminary injunction determination”).
                      17            Plaintiffs cite case law for the proposition that expedited discovery may be
                      18   appropriate to “allow [a] plaintiff to determine whether to seek an early injunction.”
                      19   (See Mot’n [Doc. 212] at 5, citing Interserve, Inc. v. Fusion Garage PTE, Ltd., No.
                      20   C 09-05812 JW PVT, 2010 WL 143665, at *2 (N.D. Cal. Jan. 7, 2010), inter alia.)
                      21   But this situation does not apply here. Plaintiffs sought a preliminary injunction
                      22   after more than a year of collecting information and evidence, and they now seek to
                      23   acquire more evidence to support a renewed motion. Their proposed discovery,
                      24   however, is not targeted nor does it relate to a pending motion. As plaintiffs point,
                      25   out some of the topics relate to the claims raised in their operative complaint. See
                      26   Am. LegalNet, Inc., 673 F. Supp. 2d 1063, 1069(C.D. 2009) (courts may deny a
                      27   motion for expedited discovery where a moving party seeks discovery that is not
                      28   “narrowly tailored to obtain information relevant to a preliminary injunction
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                       1   determination and instead goes to the merits of plaintiff’s claims in this action.”).
                       2            B.       The Proposed Discovery is Overly Broad
                       3            Expedited discovery is permissible when it has a “narrow focus,” Sambreel
                       4   Holdings LLC v. Facebook, Inc., No. 12-cv-668-CAB-KSC, 2012 WL 13175902, at
                       5   *4 (S.D. Cal. June 18, 2012), or where it is “relatively limited,” Light Salt Invs.,
                       6   2013 WL 3205918, at *2. Despite plaintiffs’ claim that their requests are narrowly
                       7   tailored, quite the opposite is true. Plaintiffs have described the PMK witness
                       8   topics and the site inspections, but they have provided no detail about the
                       9   documents they would seek on their stated 6 main topics and 19 sub-topics. Their
                      10   proposed expedited discovery is broad, burdensome, and directed toward the merits
                      11   of the dispute, which weighs against expedited discovery. See Palermo, 2012 WL
                      12   2106228, at *3 (denying plaintiff's motion for expedited discovery in advance of
                      13   its motion for preliminary injunction where plaintiff's request “appear[ed] to be a
                      14   vehicle to conduct the entirety of his discovery prior to the Rule 26(f) conference”
                      15   and would impose an undue burden on defendant).
                      16            C.       The Stated Purpose is Not Targeted or Narrow
                      17            Plaintiffs contend that the requested expedited discovery is needed to further
                      18   support their Motion for Preliminary Injunction, with new evidence. But the scope
                      19   of the proposed discovery is so broad that it weighs against expedited discovery.
                      20   See Palermo, 2012 WL 2106228, at *3 (citing Better Packages, Inc. v. Zheng, 2006
                      21   WL 1373055 (D.N.J. 2006) (observing that granting the request for expedited
                      22   discovery “would lead to the parties conducting nearly all discovery in an expedited
                      23   fashion under the premise of preparing for a preliminary injunction hearing, which
                      24   is not the purpose of expedited discovery.”)). Plaintiffs’ counsel were unwilling to
                      25   focus on one subject area, such as ADA-compliance for example, instead opting to
                      26   revisit their entire motion and all of its grounds.
                      27            D.       The Proposed Discovery Would Unduly Burden Defendants
                      28            The discovery proposed by plaintiffs is unduly burdensome. In assessing
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                       1   whether expedited early discovery is appropriate, the courts consider whether the
                       2   burden of responding to discovery is onerous. see also OMG Fidelity, Inc. v. Sirius
                       3   Techs., Inc., 239 F.R.D. 300, 304-05 (N.D.N.Y. 2006) (expedited discovery
                       4   appropriate if “the burden of responding to [document requests] would not be
                       5   particularly onerous”). Here, the burden would be enormous. Plaintiffs seek to
                       6   conduct approximately 40 hours of site inspections (full days at 5 jails –
                       7   approximately 40 hours), propound untold requests for production of documents
                       8   (no specific requests provided yet), and take numerous PMK depositions.
                       9            By themselves, the topics set forth for the proposed 30(b)(6) depositions are
                      10   very broad and may yield 5 or more deponents for each of the 6 overarching
                      11   subjects. Plaintiffs have proposed six very broad topics but each of these contain
                      12   numerous sub-topics. The County estimates that plaintiffs’ list of topics would
                      13   consist of approximately 30 deponents or more. Training, policies, investigations,
                      14   contracts, audits, logs, and disciplinary records are likely to fall to different persons,
                      15   whether on the issue of drug overdoses, safety checks, audio/intercoms, video
                      16   surveillance, and/or staff response, yielding at least 5 persons for each of the topics.
                      17   Medical, mental health care, custody, investigations, discipline4 and technical
                      18   support are all in separate departments, creating additional deponents. The persons
                      19   who handle drug interdiction are different from those who operate the scanners and
                      20   those who treat substance abuse and overdoses.
                      21            Plaintiffs speculate that PMK witnesses – unlike fact witnesses - “likely
                      22   require minimal preparation to testify about fundamental aspects of their work at
                      23   the Jail” (see Mot’n at 9); however, this is patently incorrect. Fact witnesses testify
                      24   from their memory of events they personally witnessed, whereas PMK witnesses
                      25   may be designated as the “most knowledgeable” but still need to review
                      26
                      27   4
                            Requests for documents or deponents on the issue of staff discipline within the
                           Sheriff’s Department is also likely to lead to discovery disputes given the POBRA,
                      28   privacy, and other concerns inherent in these topics.
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                       1   policies/training or other pertinent documents. Legally, PMK witnesses are entitled
                       2   to become the most knowledgeable by learning about a topic. Further, for example,
                       3   a person with the title of “Training Coordinator” might be generally knowledgeable
                       4   about how training is conducted in the Sheriff’s Department but not specifically
                       5   familiar with particular courses and thus might need to review the curricula and
                       6   materials for any specific courses before providing testimony.
                       7            Plaintiffs propose having four of their experts conduct all-day depositions of
                       8   five of the county jails, and they contend that because they seek to “observe the
                       9   Jail’s normal operations, no other preparation is required.” (See Mot’n at 9.) Again
                      10   this is incorrect. Any inspections need to be coordinated so they do not interfere
                      11   with jail operations and normal programming (meals, recreation time, medication
                      12   etc.). All attendees will need to be cleared for entry and given appropriate visitor
                      13   badges, with escorts. Some incarcerated persons may pose a safety or medical risk
                      14   (i.e. assaultive, covid-positive, etc.) and staff need to make sure to keep them away
                      15   from touring visitors. Plaintiffs’ counsel have proposed having a map of the
                      16   facilities and a list of supervising staff – in advance of the inspections – which
                      17   would take time to collect and prepare. Although plaintiffs offer to simultaneously
                      18   conduct multiple inspections, this would create staff shortages and impede
                      19   operations of the jail.
                      20            Even worse, plaintiffs have given no indication of the documents which they
                      21   seek to collect. They have not provided a list – or a number – of the requests for
                      22   production. Given the sheer number of documents attached to their first Motion for
                      23   Preliminary Injunction, and the volume of documents acquired via PRA requests
                      24   (necessitating Relativity to store), the County anticipates the requested document
                      25   production will be extremely onerous unless limited by this Court.
                      26            E.       The Request For Expedited Discovery is Premature
                      27            Currently, the County has a motion to dismiss pending. (Dkt. 133.) In this
                      28   procedural status, the court could well stay discovery pending resolution of the
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                       1   motions to dismiss and amendment of the Complaint if any, until all defendants file
                       2   Answers. Fed. R. Civ. P. 26(c)(1); Rutman Wine Co. v. E. & J. Gallo Winery, 829
                       3   F.2d 729, 738 (9th Cir. 1987) (“Appellant argues that the district court should not
                       4   have dismissed its claims without permitting discovery ... The purpose of F. R. Civ.
                       5   P. 12(b)(6) is to enable defendants to challenge the legal sufficiency of complaints
                       6   without subjecting themselves to discovery.”); Wagh v. Metris Direct, Inc., 363
                       7   F.3d 821, 829 (9th Cir. 2003). Defendant is not seeking a stay here as its motion to
                       8   dismiss is not dispositive; however, the fact that there are motions to dismiss
                       9   pending is a factor weighing against conducting early discovery.
                      10   V.       CONCLUSION
                      11            For the foregoing reasons, Plaintiffs’ request for expedited discovery should
                      12   be denied. The discovery process should begin after the Rule 26 conference is held.
                      13
                           Dated: September 14, 2022                 BURKE, WILLIAMS & SORENSEN, LLP
                      14
                      15
                                                                     By: /s/ Susan E. Coleman
                      16                                                 Susan E. Coleman
                      17                                             Attorneys for Defendant
                                                                     COUNTY OF SAN DIEGO
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                       1                               DECLARATION OF SERVICE
                       2          I, the undersigned, declare: That I am over the age of eighteen years and not
                           a party to the case; I am employed in, or am a resident of, the County of San Diego,
                       3   California where the service occurred; and my business address is: 1600 Pacific
                           Highway, Room 355, San Diego, California.
                       4
                               On September 14, 2022, I served the following document(s): DEFENDANT
                       5
                           COUNTY OF SAN DIEGO’S OPPOSITION TO PLAINTIFFS’ MOTION
                       6   FOR EXPEDITED DISCOVERY, in the following manner:
                       7            (BY CM/ECF) I cause to be transmitted a copy of the foregoing document(s)
                                    this date via the United States District Court’ ECF System, which
                       8            electronically notifies all counsel as follows:
                       9
                                                   PLEASE SEE ATTACHED SERVICE LIST
                      10
                                I declare under penalty of perjury that the foregoing is true and correct.
                      11   Executed on September 14, 2022, at San Diego, California.
                      12
                                                               By: s/Susan E. Coleman
                      13                                       E-mail: scoleman@bwslaw.com
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  ATTO RNEY S AT LAW       SD #4892-0902-3539 v1                              OPPO. TO MTN FOR EARLY DISCOVERY
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